    Case 2:20-cr-00049-LGW-BWC            Document 41       Filed 05/17/21     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION

UNITED STATES OF AMERICA,                          *
                                                   *
              v.                                   *      Case No. 2:20-cr-49
                                                   *
JAVIER SANCHEZ MENDOZA, JR.,                       *
                                                   *
                             Defendant.            *


 DEFENDANT’S MOTION FOR DISCOVERY AND INSPECTION OF EVIDENCE
         THAT GOVERNMENT INTENDS TO OFFER AT TRIAL

       COMES NOW the above-referenced Defendant, by and through his undersigned

counsel, and respectfully moves this Honorable Court, pursuant to Federal Rule of

Criminal Procedure 16, to order the United States Attorney to produce and permit this

defendant to inspect, copy or photograph the following:

       All books, papers, documents or tangible objects that the Government plans to

offer as evidence in this case.

                           Memorandum of Law in Support of Motion

       “In our adversary system for determining guilt or innocence, it is rarely justifiable

for the prosecution to have exclusive access to the storehouse of relevant fact . . . [i]t is

especially important that the defense, the judge and the jury should have the assurance

that the doors that may lead to truth may have been unlocked.” United States v. Dennis,

384 U.S. 855, 873 (1966). The objects requested in this motion are discoverable since any

item which the Government intends to introduce at trial meets Federal Rule of Criminal

Procedure 16(b)’s two pronged test of both “materiality” and “reasonable[ness].” United
   Case 2:20-cr-00049-LGW-BWC            Document 41      Filed 05/17/21     Page 2 of 2




States v. Pilnick, 267 F. Supp. 791 (S.D. N .Y. 1967); United States v. Tanner, 279 F.

Supp.457 (N .D. Ill. 1967); United States v. Reid, 43 F.R.D. 520 (N.D. III . 1967); United

States v.Aadal, 280 F. Supp. 859 (S.D . N .Y. 1967).

                                        Conclusion

       This Defendant respectfully moves this Honorable Court to order the production

of the above-described papers, documents and information now in the possession of the

Government or which, through reasonable diligence, could be obtained or located, and

for such other and further relief as this Honorable Court should deem just and proper.

       RESPECTFULLY SUBMITTED this the 31st day of March, 2021.

                                           s/ Steven Blackerby
                                           Steven Blackerby
                                           Georgia Bar No.: 141250
                                           sblackerby@brbcsw.com
                                           Attorney for Defendant
                                           BROWN, READDICK, BUMGARTNER,
                                           CARTER, STRICKLAND & WATKINS, LLP
                                           P.O. Box 220
                                           Brunswick, GA 31521
                                           (912) 264-8544
